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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


ALAN LEVIN,                          )
                                     )
      Plaintiff,                     )
                                     )
            v.                       )       1:14cv1527 (JCC/IDD)
                                     )
J. ROBERT HEYL,                      )
                                     )
      Defendant.                     )

                   M E M O R A N D U M     O P I N I O N

            This matter is now before the Court on the Plaintiff

Alan Levin’s (“Plaintiff” or “Levin”) Motion for Default

Judgment [Dkt.17] as a result of his timely objection to the

Magistrate Judge’s Report and Recommendations [Dkt. 20].

                              I. Background

            On November 17, 2014, Plaintiff filed a Complaint for

breach of contract against Defendant J. Robert Heyl (“Defendant”

or “Mr. Heyl”) and former Defendant Heyl Livestock, L.L.C.

(“Heyl Livestock”) alleging breach of contract and unjust

enrichment.      The Defendant has failed to respond to Plaintiff’s

Complaint or appear at any proceedings in this matter.            On July

10, 2015, Plaintiff moved for default judgment against

Defendants and requested damages in the amount of $121,787.91,

exclusive of prejudgment interest.        (Mot. for Def. at 11.)      The

motion for entry of default judgment was referred to United

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States Magistrate Judge Ivan D. Davis, who issued his Report and

Recommendation on the matter on August 7, 2015.          On December 30,

2015, the Magistrate Judge recommended denying Plaintiff’s

Motion for Default Judgment on the sole ground that Plaintiff’s

complaint failed to demonstrate diversity of citizenship between

Plaintiff and (then active) Defendant Heyl Livestock.           (Report

and Recommendation at 11, 12.)       On January 12, 2016, Plaintiff

voluntarily dismissed Heyl Livestock from the suit.           (Dismissal

Order [Dkt. 22].)     That same day, Plaintiff filed a limited

objection to the Magistrate Judge’s Report and Recommendation,

urging this Court to adopt the Magistrate Judge’s proposed

findings of law and fact on every issue except the lack of

subject matter jurisdiction, arguing that they had cured the

potential lack of diversity by dismissing Heyl Livestock.

(Pl.’s Objection [Dkt. 23] at 3.)

                           II. Legal Standard

            The district judge shall make a de novo determination

of those portions of the Magistrate Judge’s Report and

Recommendation to which objections are made.          Fed.R.Civ.P.

72(b); 28 U.S.C. § 636(b)(1)(C).          Under de novo review, “[t]he

district judge may accept, reject, or modify the recommended

decision, receive further evidence, or recommit the matter to

the magistrate judge with instructions.”         Fed.R.Civ.P. 72(b)(3).

                              III. Analysis

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            Plaintiff objects only to the Report and

Recommendation’s findings with regards to subject matter

jurisdiction and venue.      Accordingly, this Court, having

reviewed the pleadings and the Report and Recommendation, adopts

Judge Davis’ findings with regards to personal jurisdiction,

service of process, the sufficiency of the complaint, and

damages.

            The Report and Recommendation recommends denial of

summary judgment because Plaintiff’s complaint “fails to allege

facts regarding who the members of Defendant Heyl Livestock,

L.L.C. are or the citizenship of any of Defendant Heyl Livestock

L.L.C’s members.”     (Report and Recommendation at 2.)

Accordingly, Judge Davis correctly found that he could not

recommend entry of default judgment as it was “unclear whether

complete diversity of citizenship exists between Plaintiff and

Defendant pursuant to 28 U.S.C. § 1332(a)(1).”          (Id. at 2, 3.)

Plaintiff subsequently corrected this defect by dismissing Heyl

Livestock as a defendant in this case.         Judge Davis found, and

this Court agrees, that Plaintiff is a citizen of Maryland and

the only remaining Defendant, J. Robert Heyl, is a citizen of

Virginia.

            Complete diversity must exist under “the state of

things at the time of the action brought.”          Mollan v. Torrance,

22 U.S. 537, 539, 6 L.Ed. 154 (1824).         However, curing a lack of

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complete diversity by dismissing the party that would have

destroyed diversity has “long been an exception to the time-of-

filing rule.”    Grupo Dataflux v. Atlas Global Group, L.P., 541

U.S. 567, 572, 124 S.Ct. 1920, 1925 (2004).          That is precisely

what has occurred here.      By voluntarily dismissing Heyl

Livestock, Plaintiff has cured the potential jurisdictional

defect in their complaint.       There is no longer any ambiguity

regarding the diversity of the parties under the facts alleged

in the complaint.     The case is now an action between Plaintiff,

an individual resident of Maryland, and Defendant J. Robert

Heyl, an individual resident of Virginia.         As the amount in

controversy exceeds $75,000 and the case now satisfies the

requirement of complete diversity between Plaintiff and

Defendant, this Court has subject matter jurisdiction pursuant

to 28 U.S.C. 1332(a)(1).

            Likewise, because the only remaining Defendant resides

in the Eastern District of Virginia, it is now clear that this

Court is the proper venue for this matter pursuant to 28 U.S.C.

§ 1391(b)(1).

            The Court agrees with Judge Davis that Plaintiff has

pleaded sufficient facts to show that both Mr. Heyl and Heyl

Livestock were parties to the livestock contract, thus rendering

them jointly and severally liable for its breach.           See Traylor

v. Grafton, 332 A.2d 651, 672 (Md. 1975)(“When two or more

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promisors agree to pay a sum of money under a contract the

amount promised is the promise of all and the promisee is

entitled to a joint judgment against them, or judgments against

them severally.”)     Because Mr. Heyl and Heyl Livestock are

jointly and severally liable on the contract and Mr. Heyl is

liable on the promissory note, the dismissal of Heyl Livestock

as a defendant does not affect the Report and Recommendation’s

analysis on the issues of personal jurisdiction, service of

process, the sufficiency of the complaint, or damages.            Neither

party has objected to the proposed findings of fact and law on

those issues, and the time to file any objection has now

expired.    Accordingly, having reviewed the pleadings and the

Report and Recommendation, the Court now adopts the findings of

Judge Davis on those issues.       Specifically, the Court finds: (i)

that it has personal jurisdiction over Mr. Heyl as he was served

with process in Virginia; (ii) that Plaintiff properly served

Mr. Heyl pursuant to Rule 4(e)(2); (iii) that Plaintiff has

adequately stated a legitimate cause of action against Mr. Heyl

for breach of contract as to the livestock sale; (iv) that

Plaintiff has adequately stated a legitimate cause of action

against Mr. Heyl for breach of contract as to the promissory

note; (v) that there is an appropriate basis to award Plaintiff

damages in the amount of $75,000 for the breach of contract

claim stemming from the livestock sale; and (vi) that there is

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an appropriate basis to award Plaintiff damages in the amount of

$42,875.16 plus prejudgment interest at a rate of ten percent

per annum beginning August 11, 2014 for the breach of contract

claim stemming from the promissory note.

            Due to Plaintiff’s intervening dismissal of the party

threatening to destroy complete diversity, the Court finds that

it now has subject matter jurisdiction over Plaintiff’s action

pursuant to 28 U.S.C. §1332(a)(1).        The Report and

Recommendation would have recommended granting Plaintiff’s

Motion for Default Judgment but for “Plaintiff’s failure to

properly plead subject matter jurisdiction.”          (Report and

Recommendation at 12.)      Because the jurisdictional defect has

been cured and this Court agrees that Defendant’s failure to

answer Plaintiff’s well pleaded Complaint warrants default

judgment, the Court now grants Plaintiff’s Motion for Default

Judgment against Defendant J. Robert Heyl.

                              IV. Conclusion

            For the foregoing reasons, the Court declines to adopt

the Magistrate Judge’s Report and Recommendation and grants

Plaintiff’s Motion for Default Judgment. The Court enters

judgment in favor of the Plaintiff against the Defendant and

awards Plaintiff damages in the amount of $75,000 for the breach

of contract claim stemming from the livestock sale and

$42,875.16 plus prejudgment interest at a rate of ten percent

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per annum beginning August 11, 2014 for the breach of contract

claim stemming from the promissory note.         An appropriate Order

shall issue.




                                                  /s/

March 23, 2016                            James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




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